   Case: 1:21-cv-00135 Document #: 302 Filed: 03/02/22 Page 1 of 3 PageID #:5947




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                               )
                                               )
 In re: Clearview AI, Inc. Consumer            )       Case No. 1:21-cv-00135
 Privacy Litigation                            )
                                               )       Hon. Sharon Johnson Coleman
                                               )
                                               )

 CLEARVIEW DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME
            TO ANSWER THE FIRST AMENDED COMPLAINT

       Defendants Clearview AI, Inc. (“Clearview”), Rocky Mountain Data Analytics LLC, Hoan

Ton-That, and Richard Schwartz (collectively, the “Clearview Defendants”), by and through their

counsel, hereby file this unopposed motion to extend the time to file an answer to Plaintiffs’ First

Amended Complaint. In support of this motion, the Clearview Defendants state as follows:

       1.      Plaintiffs filed the First Amended Complaint on June 29, 2021, at which time the

Clearview Defendants’ motion to dismiss was pending before the Court.

       2.      On February 14, 2022, the Court entered an order granting in part and denying in

part the Clearview Defendants’ motion to dismiss. Accordingly, the Clearview Defendants are

required to file an answer to the First Amended Complaint.

       3.      The Clearview Defendants are considering their options with respect to the Court’s

February 14 Order and seek an extension until March 14, 2022 to file an answer to the First

Amended Complaint. No prejudice will occur to any party as a result of this short delay.

       4.      Plaintiffs have filed a response stating that they take no position on this motion.

(Dkt. 300.)

       WHEREFORE, the Clearview Defendants respectfully move the Court to grant them an

extension until March 14, 2022 to answer the First Amended Complaint.




                                                   1
 Case: 1:21-cv-00135 Document #: 302 Filed: 03/02/22 Page 2 of 3 PageID #:5948




March 2, 2022                                 Respectfully submitted,




                                              By:     /s/ Precious S. Jacobs-Perry

                                                    Precious S. Jacobs-Perry (ARDC No.
                                                    6300096)
                                                    Howard S. Suskin (ARDC No. 6185999)
                                                    JENNER & BLOCK LLP
                                                    353 North Clark Street
                                                    Chicago, Illinois 60654
                                                    Phone: (312) 222-9350
                                                    pjacobs-perry@jenner.com
                                                    hsuskin@jenner.com

                                                    Lee Wolosky (pro hac vice)
                                                    Andrew J. Lichtman (pro hac vice)
                                                    JENNER & BLOCK LLP
                                                    919 Third Avenue
                                                    New York, New York 10022-3908
                                                    Phone: (212) 891-1600
                                                    lwolosky@jenner.com
                                                    alichtman@jenner.com

                                                    Floyd Abrams
                                                    Joel Kurtzberg
                                                    CAHILL GORDON & REINDEL LLP
                                                    32 Old Slip
                                                    New York, NY 10005
                                                    Phone: (212) 701-3000
                                                    fabrams@cahill.com
                                                    jkurtzberg@cahill.com

                                                    Attorneys for Defendants Clearview AI, Inc.,
                                                    Hoan Ton-That, Richard Schwartz, Rocky
                                                    Mountain Data Analytics LLC, and Thomas
                                                    Mulcaire




                                      2
   Case: 1:21-cv-00135 Document #: 302 Filed: 03/02/22 Page 3 of 3 PageID #:5949




                                   CERTIFICATE OF SERVICE

          I certify that on March 2, 2022, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF system, which will then send a Notice of Electronic Filing to all counsel of

record.



                                                        By:     /s/ Precious S. Jacobs-Perry




                                                    3
